              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 1 of 32



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 6
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 7

 8                                UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                     SAN FRANCISCO DIVISION
11   IN RE OCERA THERAPEUTICS, INC.                    Lead Case No. 3:17-cv-06687- RS
     SECURITIES LITIGATION
12                                                     CLASS ACTION
13
                                                       CONSOLIDATED COMPLAINT FOR
14                                                     VIOLATION OF THE SECURITIES
                                                       EXCHANGE ACT OF 1934
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                                                       JURY TRIAL DEMANDED
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                                                    Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
                 Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 2 of 32



 1          Lead Plaintiffs Samuel P. Clarke and William Paulus (“Plaintiffs”), on behalf of themselves

 2   and the proposed Class defined herein, bring this class action for violations of Sections 14(e) and 20(a)

 3   of the Securities Exchange Act of 1934. In support of this Consolidated Complaint, Plaintiffs, by their

 4   attorneys, allege upon information and belief, except for their own acts, which are alleged on

 5   knowledge, as follows:

 6                                       NATURE OF THE ACTION
 7          1.       Plaintiffs seek to recover damages for all former similarly situated public stockholders

 8   of Ocera Therapeutics, Inc. (“Ocera” or the “Company”) for violations of Section 14(e) and 20(a) of

 9   the Securities Exchange Act of 1934, 15 U.S.C. §§ 78n(e) and 78t(a), by Ocera’s former board of

10   directors (collectively, the “Board” or the “Individual Defendants”) in connection with the sale of all

11   of the outstanding shares of Ocera to entities affiliated with Mallinckrodt plc (“Mallinckrodt”) via a

12   tender offer.

13          2.       Ocera is a clinical stage biopharmaceutical company focused on the development and

14   commercialization of OCR-002 (ornithine phenylacetate) in both intravenous (“IV”) and oral

15   formulations. OCR-002 is an ammonia scavenger and has been granted Orphan Drug designation and

16   Fast Track status by the U.S. Food and Drug Administration (“FDA”) for the treatment of

17   hyperammonemia and resultant hepatic encephalopathy (“HE”) in patients with acute liver failure and

18   acute-on-chronic liver disease.

19          3.       On November 2, 2017, Ocera announced that it had entered into a definitive merger
20   agreement (the “Merger Agreement”) pursuant to which Mallinckrodt would commence a tender offer

21   (the “Tender Offer”) to acquire all of the outstanding shares of Ocera common stock for $1.52 per

22   share (the “Cash Consideration”) plus one contingent value right per share (“CVR”) representing the

23   contractual right to receive one or more payments in cash estimated to be up to $2.58 in the aggregate,

24   contingent upon the achievement of certain milestones (the “Contingent Consideration” and,

25   collectively with the Cash Consideration, the “Merger Consideration”). The Contingent Consideration

26   is contingent upon three milestones; the first two milestones are tied to the successful commencement
27   of Phase 3 clinical trials for OCR-002, and the third milestone is tied to reaching over $500,000,000

28   in sales for OCR-002.

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                                          1         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
                  Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 3 of 32



 1           4.       The Tender Offer commenced on November 9, 2017, and expired on December 8,

 2   2017. More than 50% of Ocera’s common shares were validly tendered in the Tender Offer. As a

 3   result of the Tender Offer and resulting merger, Ocera became an indirect, wholly owned subsidiary

 4   of Mallinckrodt (the “Transaction”). Accordingly, Ocera’s former stockholders have received the

 5   Cash Consideration of $1.52 per Ocera share they owned, and the maximum potential Merger

 6   Consideration they stand to receive is $4.10 per share, which they will only receive if all three

 7   milestones are achieved and the maximum CVR cash payment of $2.58 is issued.

 8           5.       The Merger Consideration was inadequate and undervalued the Ocera shares held by

 9   Plaintiffs and the Class. To properly value the then-present-value of the Merger Consideration at the

10   time the Transaction was announced, the implied value of the Contingent Consideration needs to be

11   discounted because of its contingent nature. The Recommendation Statement notes that Ocera’s

12   financial advisor valued the then-present value of the aggregate Merger Consideration (i.e., the Cash

13   Consideration of $1.52 plus the then-present value of the CVR Contingent Consideration) at $1.99 per

14   share. Recommendation Statement at 34. However, analysts had set price targets for Ocera shares

15   above that value shortly before the consummation of the Transaction, including a target of $3.00 per

16   share issued by Aegis Capital on May 24, 2017. According to marketbeat.com, the consensus price

17   target for Ocera between September 2017 and December 2017 ranged from $4.50 to $2.67 per share1.

18   In other words, as a result of the Tender Offer and Transaction, which could not have been completed

19   without the misleading Recommendation Statement (discussed in detail below), Plaintiffs and the
20   Class suffered economic loss in that they did not receive fair consideration for their Ocera shares,

21   which were worth more than the Merger Consideration.

22           6.       In connection with the commencement of the Tender Offer, on November 9, 2017,

23   Defendants caused a Recommendation Statement on Schedule 14D-9 (the “Recommendation

24   Statement” or “RS”) to be filed with the SEC and disseminated to Ocera stockholders.             The

25   Recommendation Statement was materially deficient and misleading because, inter alia, it failed to

26   disclose two sets of Ocera projections that were approved by the Board and reviewed by the
27
     1
28     See Ocera Therapeutics Stock Price, Price Target & More, available at https://www.marketbeat.
     com/stocks/NASDAQ/OCRX/ (last accessed April 26, 2018).
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                                             2         Lead Case No. 3:17-cv-06687- RS
31       CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                       OF 1934
                  Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 4 of 32



 1   Company’s financial advisor, MTS Health Partners, L.P. (collectively with its affiliate MTS Securities

 2   LLC, “MTS”). The set of projections ultimately relied upon by MTS in rendering its fairness opinion

 3   was approved, apparently, on the same day that the Merger Agreement was signed. See RS at 38

 4   (“The tables below present selected elements of the Projections, as prepared by the Company’s

 5   management and provided to and approved by the Board on November 1, 2017 and as provided to

 6   MTS for its use and reliance in connection with its financial analyses and opinion to the Board . . .”).

 7   While the Recommendation Statement discloses this set of projections, RS at 40, it provides no basis

 8   for how or why these projections were created, and more importantly, how they differ from the

 9   previous projections.

10           7.       Based on the facts as disclosed in the Recommendation Statement, it appears that the

11   Company revised its projections downward twice in order to make the deal with Mallinckrodt seem

12   appealing. Indeed, the first downward revision was not based on management’s opinion, but rather

13   on “feedback from potential partners,” RS at 21, presumably input from bidders such as Mallinckrodt

14   whose sole goal was to acquire Ocera for the lowest price possible. Without disclosure of the initial,

15   unbiased management projections that were approved by the Board on June 20, 2017 (defined below

16   as the June Projections), Ocera stockholders were deprived of the projections that actually represented

17   Ocera management’s best estimates regarding the Company’s future financial performance, and they

18   were impeded from recognizing the extent to which the Board modified its financial projections

19   downward after receiving pressure from bidders to do so.
20           8.       Indeed, publicly available information from various other sources outside the

21   Recommendation Statement contradicts or undercuts the reasons that Ocera stockholders were told

22   purportedly supported the downward revision to Ocera’s projections between June and August of

23   2017. Those reasons were described in general terms in an Amendment No. 2 to the Recommendation

24   Statement that Ocera caused to be filed with the SEC on December 1, 2017 (the “Supplemental

25   Disclosures”).2 As set forth below, the reasons set forth in the Supplemental Disclosures did not

26   actually support a downward revision to the Company’s June Projections, which were management’s
27
     2
28      Schedule 14D-9 Amendment No. 2, Ocera Therapeutics, Inc., Dec. 1, 2017, available at
     https://www.sec.gov/Archives/edgar/data/1274644/000119312517358942/d281363dsc14d9a.htm
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                                             3         Lead Case No. 3:17-cv-06687- RS
31       CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                       OF 1934
                  Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 5 of 32



 1   pure, unadulterated best estimates of the Company’s future prospects prepared before receiving input

 2   and “feedback” from outside parties. Accordingly, it appears that the June Projections that were

 3   omitted from the Recommendation Statement were, in fact, the projections that most accurately

 4   reflected Ocera management’s best estimates and judgments regarding the future financial

 5   performance of the Company. Nevertheless, the Recommendation Statement falsely or misleadingly

 6   portrayed the downward revised projections that were relied upon by MTS in connection with

 7   preparing its fairness opinion as the projections that reflected Ocera management’s best estimates and

 8   judgments of the Company’s future financial performance. RS at 30.

 9           9.       Ocera stockholders relied upon the materially incomplete and misleading

10   Recommendation Statement in determining whether to tender their shares in favor of the Transaction.

11   As a result, stockholders agreed to a Tender Offer that substantially undervalued their shares.

12           10.      For these reasons and as set forth in detail herein, Defendants have violated

13   Sections 14(e) and 20(a) of the Exchange Act. Accordingly, Plaintiffs seek to recover damages

14   resulting from Defendants’ violations of the Exchange Act.

15                                       JURISDICTION AND VENUE
16           11.      The claims asserted herein arise under Sections 14(e) and 20(a) of the Exchange Act.

17   The Court has subject matter jurisdiction pursuant to Section 27 of the Exchange Act, 15 U.S.C.

18   § 78aa, and 28 U.S.C. § 1331 (federal question jurisdiction).

19           12.      The Court has personal jurisdiction over each of the Defendants because each conducts
20   business in and maintains operations in this District or is an individual who either is present in this

21   District for jurisdictional purposes or has sufficient minimum contacts with this District as to render

22   the exercise of jurisdiction by this Court permissible under traditional notions of fair play and

23   substantial justice.

24           13.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. § 78aa,

25   as well as pursuant to 28 U.S.C. § 1391, because: (i) the conduct at issue took place and had an effect

26   in this District; (ii) Ocera maintains its principal place of business in this District and each of the
27   Individual Defendants, and Company officers or directors, either resides in this District or has

28   extensive contacts within this District; (iii) a substantial portion of the transactions and wrongs

30
                                          4         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
               Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 6 of 32



 1   complained of herein occurred in this District; (iv) most of the relevant documents pertaining to

 2   Plaintiffs’ claims are stored (electronically and otherwise), and evidence exists, in this District; and

 3   (v) Defendants have received substantial compensation in this District by doing business here and

 4   engaging in numerous activities that had an effect in this District.

 5                                                  PARTIES
 6           14.     Plaintiffs were, at all relevant times, the owners of shares of Ocera common stock.

 7           15.     Defendant Eckard Weber (“Weber”) served as Chairman of the Board of Ocera since

 8   2013.

 9           16.     Defendant Linda S. Grais (“Grais”) served as President and Chief Executive Officer

10   (“CEO”) and a director of the Company since 2013.

11           17.     Defendant Wendell Wierenga (“Wierenga”) served as a director of the Company since

12   2013.

13           18.     Defendant Steven P. James (“James”) served as a director of the Company since 2014.

14           19.     Defendant Nina Kjellson (“Kjellson”) served as a director of the Company since 2013.

15           20.     Defendant Anne M. VanLent (“VanLent”) served as a director of the Company 2011.

16           21.     Defendant Willard H. Dere (“Dere”) was elected to serve as a director of the Company

17   on October 26, 2016.

18           22.     Defendants Dere, VanLent, Kjellson, James, Weirenga, Grais, and Weber are

19   collectively referred to herein as the “Board” or the “Individual Defendants.”
20           23.     Defendant Ocera is a corporation organized and existing under the laws of the State of

21   Delaware. The Company maintains its principal executive offices at 555 Twin Dolphin Drive,

22   Suite 615, Redwood City, California 94065. Ocera common stock was traded on the NASDAQ under

23   the ticker symbol “OCRX.” As a result of the Transaction, Ocera is now a wholly-owned subsidiary

24   of MAK LLC, a Delaware limited liability company and an indirect wholly-owned subsidiary of

25   Mallinckrodt plc.      Ocera and the Individual Defendants are referred to collectively as the

26   “Defendants.”
27                                    CLASS ACTION ALLEGATIONS
28           24.     Plaintiffs bring this action as a class action on behalf of all former holders of Ocera

30
                                          5         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
               Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 7 of 32



 1   stock who were harmed by Defendants’ actions described herein (the “Class”). Excluded from the

 2   Class are Defendants herein and any person, firm, trust, corporation, or other entity related to,

 3   controlled by, or affiliated with, any Defendant, including the immediate family members of the

 4   Individual Defendants.

 5           25.     This action is properly maintainable as a class action under Federal Rule of Civil

 6   Procedure 23.

 7           26.     The Class is so numerous that joinder of all members is impracticable. According to

 8   the Recommendation Statement, as of November 1, 2017, there were 26,514,134 Ocera common

 9   shares issued and outstanding. These shares were held by hundreds to thousands of beneficial holders

10   who are geographically dispersed across the country.

11           27.     There are questions of law and fact which are common to the Class and which

12   predominate over questions affecting any individual Class member. The common questions include,

13   inter alia, the following:

14                   a.      whether Defendants violated Sections 14(e) and 20 of the Exchange Act in

15                           connection with the Transaction; and

16                   b.      whether Plaintiffs and the other members of the Class suffered damages as a

17                           result of the Transaction and Defendants’ violations of law.

18           28.     Plaintiffs’ claims are typical of the claims of the other members of the Class and

19   Plaintiffs do not have any interests adverse to the Class.
20           29.     Plaintiffs are adequate representatives of the Class, have retained competent counsel

21   experienced in litigation of this nature, and will fairly and adequately protect the interests of the Class.

22           30.     The prosecution of separate actions by individual members of the Class creates a risk

23   of inconsistent or varying adjudications with respect to individual members of the Class, which could

24   establish incompatible standards of conduct for Defendants.

25           31.     Plaintiffs anticipate that there will be no difficulty in the management of this litigation.

26   A class action is superior to other available methods for the fair and efficient adjudication of this
27   controversy.

28           32.     Defendants acted on grounds generally applicable to the Class with respect to the

30
                                          6         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
               Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 8 of 32



 1   matters complained of herein, thereby making appropriate the relief sought herein with respect to the

 2   Class a whole.

 3          33.       Accordingly, Plaintiffs seek to recover damages resulting from Defendants’ violations

 4   of the Exchange Act.

 5                               FURTHER SUBSTANTIVE ALLEGATIONS
 6          34.       Ocera is a clinical stage biopharmaceutical company focused on the development and

 7   commercialization of novel therapeutics for orphan and other serious liver diseases with high unmet

 8   medical need. The Company is focused on the development and commercialization of OCR-002

 9   (ornithine phenylacetate) in both IV and oral formulations. OCR-002 is an ammonia scavenger and

10   has been granted orphan drug designation and Fast Track status by the FDA for the treatment of

11   hyperammonemia and resultant hepatic encephalopathy in patients with acute liver failure and acute-

12   on-chronic liver disease.

13   A.     The Process Leading to the Transaction and the Company’s Revisions to Its Projections
14          35.       In 2017, Ocera commenced discussions with a number of potential strategic partners

15   regarding their respective interest in a strategic transaction.

16          36.       These efforts, which were rooted in the approximately 50 separate in-person meetings

17   that Ocera held at the JPM Healthcare Conference in January 2017 (the “JPM Conference”) with

18   institutional investors as well as large pharmaceutical companies, including Mallinckrodt, and other

19   biopharmaceutical companies, including a private biopharmaceutical company (“Party A”), resulted
20   in a number of pharmaceutical and biopharmaceutical companies expressing their interest in executing

21   a confidentiality agreement with Ocera to facilitate further discussions.

22          37.       On January 20, 2017, Ocera executed confidentiality agreements with Party A and an

23   affiliate of Mallinckrodt to facilitate sharing of confidential information between the parties in an

24   effort to allow for continued discussion of a potential collaboration, partnership, or other strategic

25   transaction.

26          38.       During a March 16, 2017 regularly scheduled meeting of the Ocera Board, the Board
27   determined that it would be appropriate for Ocera to retain a financial advisor to assist the Board in its

28   evaluation of strategic alternatives available to Ocera, including interest from Mallinckrodt, Party A,

30
                                          7         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
               Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 9 of 32



 1   and others, and to manage a strategic review process. To further assist in this process, the Board

 2   created a special committee (the “Strategic Committee”) consisting of Defendants Weber, VanLent,

 3   and James to oversee the strategic exploration process and the engagement of a financial advisor, and,

 4   in between meetings of the full Board, to give direction to management, Ocera’s financial and legal

 5   advisors, and to lead on behalf of Ocera any negotiations with potentially interested parties.

 6          39.        On April 4, 2017, Party A sent Ocera a preliminary non-binding term sheet outlining a

 7   stock-for-stock combination via a “reverse merger” transaction. The proposal, which would have left

 8   existing Ocera stockholders with as little as 20% of the combined company’s stock, was viewed

 9   unfavorably by the Board and the Strategic Committee, and management was directed to communicate

10   to Party A that Ocera did not find the proposal attractive.

11          40.        Three days later, on April 7, 2017, the Strategic Committee determined to engage MTS

12   as Ocera’s financial advisor to assist the Board in its evaluation of a business combination transaction

13   and other strategic alternatives. Ocera entered into an engagement letter with MTS on April 19, 2017.

14   Pursuant to the engagement agreement, MTS received a retainer of $75,000, an opinion fee of

15   $500,000 upon the delivery of its fairness opinion, and an aggregate transaction fee of approximately

16   $1.35 million upon the consummation of the Transaction (against which the retainer and opinion fee

17   were credited).

18          41.        From April 25, 2017 to May 1, 2017, MTS contacted 34 potential strategic partners

19   previously identified by the Strategic Committee. Of the 34 companies contacted, 15 elected to
20   execute confidentiality agreement with Ocera, or already had one in place.

21          42.        As of June 20, 2017, seven pharmaceutical and biopharmaceutical companies were

22   actively conducting due diligence.

23          43.        On May 22, 2017, Mallinckrodt submitted a preliminary non-binding letter of intent

24   for an acquisition of Ocera that contemplated a cash payment of $55 million upfront with a total

25   potential consideration of $250 million to $300 million, with the contingent consideration to be paid

26   upon the occurrence of certain unspecified clinical and regulatory milestones with respect to Ocera’s
27   clinical development efforts.

28          44.        On June 20, 2017, Ocera held its regularly scheduled annual meeting of stockholders

30
                                          8         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 10 of 32



 1   and second quarter Board meeting, at which management and MTS were present. At this meeting,
 2   the Board approved management’s projections of Ocera as a standalone company (the “June
 3   Projections”).
 4          45.       One month later, following negotiations between Ocera and Mallinckrodt regarding the

 5   May 22, 2017 preliminary indication of interest, Mallinckrodt submitted a revised non-binding letter

 6   of intent on June 30, 2017, that contemplated a $57 million upfront cash payment with a total potential

 7   cash consideration of $604 million. The proposal further requested 45 days of exclusivity and asked

 8   for a response by July 14, 2017.

 9          46.       Mallinckrodt’s revised non-binding letter of intent was discussed by the Ocera Board

10   during a July 5, 2017 special meeting. The June Projections were presumably considered and/or

11   utilized by MTS in connection with the financial analyses it presented to the Board during the July 5,

12   2017 Board meeting. During that meeting, MTS presented the recent Mallinckrodt proposal in detail

13   and, among other financial analyses, described the net present value implied by Mallinckrodt’s

14   proposal. The Board expressed its belief that the revised proposal Mallinckrodt had submitted as of

15   that date would provide substantial value to Ocera stockholders, and discussed how best to further

16   enhance stockholder value through the next phase of the strategic process. In order to conclude that

17   the offer “provide[d] substantial value to Ocera stockholders,” the Board presumably needed to

18   consider the June Projections. The Board directed MTS to submit bid process letters to the seven

19   remaining biopharmaceutical companies engaged in active due diligence, including Mallinckrodt and
20   Party A, and ask them to submit updated proposals by July 14, 2017.

21          47.       Mallinckrodt and Party A submitted proposals by the July 14, 2017 deadline.

22   Mallinckrodt’s updated proposal included a $65 million upfront cash payment with a total potential

23   cash consideration of $532 million. Mallinckrodt’s proposal again requested 45 days of exclusivity

24   and asked for a response by the end of July 2017. Party A’s revised proposal consisted of an upfront

25   payment of approximately $39 million in cash with potential contingent cash payments of up to

26   $80 million.
27          48.       On July 18, 2017, Ocera held a special meeting of the Board, in which management

28   and MTS were present, to review the revised proposals from Mallinckrodt and Party A and the status

30
                                          9         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 11 of 32



 1   of discussions with other strategic partners. MTS presented the recent Mallinckrodt and Party A

 2   proposals in detail and, among other financial analyses, described the net present value implied by

 3   both proposals. The Board and MTS presumably considered the June Projections in connection with

 4   the financial analyses and consideration of the proposals discussed at this meeting.

 5          49.     Over the next month both Party A and Mallinckrodt continued to engage in due

 6   diligence of Ocera and to negotiate the terms of the merger agreement.

 7          50.     On August 25, 2017, Mallinckrodt submitted a revised letter of intent to Ocera with a

 8   significant reduction in deal economics. The updated proposal included only $45 million in an upfront

 9   cash payment without any potential contingent consideration. Mallinckrodt reiterated that the offer

10   was subject to completion of due diligence and that Ocera was expected to have a minimum cash

11   balance of $3 million assuming a closing by September 30, 2017. Mallinckrodt requested 45 days of

12   exclusivity and asked for a response by September 1, 2017. Ocera’s and MTS’s conversations with

13   Mallinckrodt indicated the reduction was a result of Mallinckrodt’s then current belief, based in part

14   on the results of the pK/pD Study, that the IV formulation of OCR-002 would require another Phase 2

15   clinical trial to establish the optimal dose before the program could advance to Phase 3 clinical trials.

16          51.     On August 27, 2017, Ocera held a special meeting of the Board to discuss the revised

17   proposals from Mallinckrodt and Party A. The Recommendation Statement states that “[i]n light of

18   the feedback from potential partners, management revised and the Board approved revised financial

19   projections of Ocera as a standalone company prepared by management” (the “August Projections”).
20   RS at 21. The Supplemental Disclosures filed with the SEC revealed that this “feedback” related to:

21          [T]he possibility, based in part on the results of the pK/pD Study, that the IV
            formulation of OCR-002 might require another Phase 2 clinical trial to establish the
22          optimal dose before the program could advance to Phase 3 clinical trials, uncertainty
            about the potential Phase 3 clinical trial design for the IV formulation of OCR-002,
23          lack of regulatory clarity, mixed views on the market opportunity and potential safety
            concerns raised by the Phase 2b STOP-HE clinical data.
24

25          52.     While the Supplemental Disclosures regarding the revisions to the June Projections
26   does not say it explicitly, the clear inference drawn is that management and the Board revised the
27   projections downward. This downward revision to the June Projections previously prepared by
28   management and approved and relied upon by the Board and MTS was in response to external
30
                                         10         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 12 of 32



 1   pressure. There is no indication that management and the Board believed these downward revisions

 2   were necessary, despite the fact that they ultimately approved them.

 3          53.     Indeed, the rationale set forth in the Supplemental Disclosure regarding why the

 4   Company’s projections needed to be “revised” suggest that such a revision was not in fact prompted

 5   by changes regarding management’s views. The Company’s initial management projections (the June

 6   Projections) were approved by the Board on June 20, 217. RS at 18. That date was months after the

 7   results of the Phase 2b STOP-HE study were announced (January 30, 2017), and the June Projections

 8   therefore must have accounted for the purported “potential safety concerns raised by the Phase 2b-

 9   STOP-HE clinical data.” Indeed, based upon the Recommendation Statement and other SEC filings,

10   it appears that Ocera had completed its “post hoc analyses” of the STOP-HE trial before the June

11   Projections were approved by the Board. Specifically, on March 8, 2017, Ocera issued a press release

12   reporting the results of additional post hoc analyses of its Phase 2b STOP-HE clinical trial. These data

13   confirmed OCR-002’s ability to lower ammonia among subjects with HE and that ammonia reduction

14   has a statistically significant correlation with clinical improvement.

15          54.     Further, on May 9, 2017, Ocera filed its Quarterly Report on Form 10-Q for the quarter

16   ended March 31, 2017, and issued its earnings release, both of which announced additional positive

17   results from the post hoc analysis of the Phase 2b STOP-HE clinical data.

18          55.     With respect to the STOP-HE trial, the May 9, 2017 earnings press release stated:

19          To date, 2017 has been very eventful for Ocera with a successful Phase 1 study of
            oral OCR-002 in cirrhotic patients in January followed by the completion of our
20          STOP-HE Phase 2b clinical trial of IV OCR-002 and subsequent data read out,” said
            Linda Grais, M.D., Chief Executive Officer of Ocera. “The data from STOP-HE
21          confirmed that hyperammonemia is correlated with the severity of HE
            symptoms and that OCR-002 correlates with faster reduction of ammonia, and
22          with clinical improvement.”
23          Previously, the company reported top-line data from STOP-HE based on an intent to
            treat (ITT) population of patients with elevated plasma ammonia levels at screening.
24          Patients receiving OCR-002 demonstrated a 17-hour reduction in time to
            improvement in HE symptoms over placebo (47 versus 64 hours, respectively) for
25          the primary endpoint, p=0.129.

26          Today, the company reported new data from STOP-HE. A post-hoc analysis of
            the same primary endpoint revealed patients with confirmed hyperammonemia
27          at randomization (baseline) improved faster on OCR-002 than placebo (42
            versus 63 hours, respectively), with statistical significance, p=0.034.
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                                         11         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 13 of 32



 1           The findings are based on a retrospective analysis of baseline ammonia levels drawn
             at time of randomization and determined by a central laboratory. Of the 231 patients
 2           in the ITT analysis, 201 were confirmed as hyperammonemic at time of
             randomization; some patients’ ammonia levels had normalized between screening
 3           and randomization under standard of care. This post-hoc per protocol population
             represents the study’s target population given the ammonia-scavenging mechanism
 4           of action of OCR-002.

 5           We are very encouraged by this additional analysis of the data which reaffirms
             the clinical benefits attributable to the mechanism of action of OCR-002,” said
 6           Stan Bukofzer, M.D., Chief Medical Officer. “STOP-HE demonstrated that rapid
             reduction of ammonia in hyperammonemic patients leads to faster clinical
 7           improvement, which we believe will translate to better outcomes for these
             patients. We look forward to continuing to develop OCR-002 with the hope of
 8           bringing these benefits to patients, their families, and to the healthcare system.”3

 9           56.    The press release makes no mention of any “safety concerns raised by the Phase 2b

10   STOP-HE clinical data” or any other negative news regarding the post hoc analysis of the STOP-HE

11   data. Further, the description of the post hoc analysis in the press release makes it sound like the

12   analysis was complete. No reference is made to an ongoing “post hoc analysis”; rather, the release

13   summarizes the findings of the post hoc analysis, confirms what the STOP-HE study
14   “demonstrated,” and notes the Company’s plan to continue developing OCR-002.                    The
15   Recommendation Statement notes that May 9, 2017 was “the date the Company presented post-hoc

16   protocol analysis demonstrating that IV OCR-002 achieved its primary endpoint in patients with
17   confirmed hyperammonemia with statistical significance,” further suggesting that the analysis was

18   complete or virtually complete as of that date. RS at 32.

19           57.    Indeed, in addition to the May 9, 2017 press release, Ocera prepared an investor
20   presentation with slides indicating that the Company’s analysis of the STOP-HE trial results was

21   finalized and positive. Such slides included:

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27   3
       Ocera Therapeutics Reports First Quarter 2017 Financial Results and Provides Clinical Update,
28   May 9, 2017, available at https://www.sec.gov/Archives/edgar/data/1274644/00012746441700003
     8/exhibit991oceraearningsrel.htm
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                                            12         Lead Case No. 3:17-cv-06687- RS
31       CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                       OF 1934
          Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 14 of 32



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                                        13         Lead Case No. 3:17-cv-06687- RS
31   CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                   OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 15 of 32



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18          58.     Another slide in the presentation, entitled “OCR-002 Addressing Unmet Need in HE”

19   stated that “OCR-002 addresses key desirable product attributes as described by physicians,” including
20   “safety and tolerability.” Slide 26.

21          59.     Simply stated, no “safety concerns raised by the Phase 2b STOP-HE clinical data” were

22   referenced in the Company’s statements regarding the post-hoc analysis of the clinical data, and, to

23   the extent such “concerns” actually existed, they must have been accounted for when the June

24   Projections were approved. Such “concerns” therefore could not support a significant reduction to the

25   June Projections. The Company also reiterated that the data from the STOP-HE trial “showed that

26   OCR-002 was both safe and well-tolerated at all dose levels evaluated” in the quarterly reports it
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                                         14         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
                Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 16 of 32



 1   issued on March 14, 20174, May 9, 20175, August 1, 20176, and November 14, 20177.

 2             60.    Furthermore, the Company’s view regarding the “market opportunity” for intravenous

 3   and oral OCR-002 actually improved after June 2017. In its November 14, 2017 10-Q, the Company

 4   stated:

 5             Our strategy is to focus clinical development activities on the IV formulation of OCR-
               002 to treat overt HE in hospitalized patients and on the oral form of OCR-002, which
 6             will be directed to chronic care of HE patients. Based on third party analysis of
               Healthcare Cost and Utilization Project, or HCUP, and Medicare data, we estimate
 7             that there are approximately 200,000 patients accounting for approximately 260,000
               hospitalizations for overt HE in the United States annually. Additional third-party
 8             data from Centers for Medicare and Medicaid Services, or CMS, indicate that
               approximately 60% of patients suffering from HE are hospitalized for over four
 9             days. Utilizing this incidence data and a combination of third-party information
               and market research commissioned by us regarding pricing, we believe the
10             combined annual market potential for intravenous and oral OCR-002 is
               approximately $2.0 to $2.6 billion in the United States alone. If intravenous
11             OCR-002 is able to reduce the time to clinical improvement, and thereby shorten
               hospital stay, we believe it has an annual market potential of $1.1 billion to
12             $1.4 billion and if the oral formulation can reduce the frequency of overt HE
               episodes, we believe it has an annual market potential of $900 million to
13             $1.2 billion.8
14             61.    The “market opportunity” referenced in the Company’s November 2017 10-Q is better

15   than the “market opportunity” referenced in the Company’s May 9, 2017 10-Q, which stated:

16             Our strategy is to focus clinical development activities on the IV formulation of OCR-
               002 to treat overt HE in hospitalized patients and on the oral form of OCR-002, which
17             will be directed to chronic care of HE patients. Based on third party analysis of
               Healthcare Cost and Utilization Project, or HCUP, and Medicare data, we estimate
18             that there are approximately 200,000 patients accounting for approximately 260,000
               hospitalizations for overt HE in the United States annually. Additional third-party
19             data from Centers for Medicare and Medicaid Services, or CMS, indicate that
               approximately 60% of patients suffering from HE are hospitalized for over four
20             days. Utilizing this incidence data and a combination of third-party information
               and market research commissioned by us regarding pricing, we believe the
21             combined annual market potential for intravenous and oral OCR-002 is
               approximately $1.5 to $2.0 billion in the United States alone. If intravenous
22             OCR-002 is able to reduce the time to clinical improvement, and thereby shorten
               hospital stay, we believe it has an annual market potential of $600 to $800 million
23             and if the oral formulation can reduce the frequency of overt HE episodes, we
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       https://www.sec.gov/Archives/edgar/data/1274644/000127464417000014/ocera10-k2016.htm
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       https://www.sec.gov/Archives/edgar/data/1274644/000127464417000040/ocera1q-201710q.htm
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       https://www.sec.gov/Archives/edgar/data/1274644/000127464417000066/ocera2q-201710q.htm
27   7
       https://www.sec.gov/Archives/edgar/data/1274644/000119312517342745/d462205d10q.htm
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28     Form 10-Q, Ocera Therapeutics, Inc., Nov. 14, 2017, https://www.sec.gov/Archives/edgar/data/
     1274644/000119312517342745/d462205d10q.htm.
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                                            15         Lead Case No. 3:17-cv-06687- RS
31       CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                       OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 17 of 32



 1           believe it has an annual market potential of $900 million to $1.2 billion.9
 2           62.    In other words, Ocera’s own quarterly reports suggest that management’s view of

 3   OCR-002’s “market opportunity” significantly improved after the time the June Projections were

 4   prepared. Nevertheless, the Recommendation Statement and Supplemental Disclosure suggested that

 5   “the market opportunity” supported a downward revision between the June and August Projections.

 6           63.    The other main justification for the revision to the projections, “the results of the pK/pD

 7   Study” are inadequately summarized in the Recommendation Statement. The “pK/pD Study” is

 8   defined on page 15 of the Recommendation Statement as “a pharmacokinetic/pharmacodynamic

 9   modeling study of OCR-002 in an effort to inform potential dosage levels and regimens for a potential

10   Phase 3 clinical program of OCR-002.” According to the Recommendation Statement, Ocera

11   “commissioned work on the pK/pD Study” sometime between February 13 and March 3, 2017. Id. at

12   16. On or around July 19, 2017, Mallinckrodt purportedly indicated that it would need additional time

13   to respond to Ocera’s latest counterproposal in order to conduct more due diligence, including

14   diligence related to the pK/pD Study . . . .” Id. at 20. Then, on or around August 25, 2017,

15   Mallinckrodt indicated that it was reducing its offer as “a result of Mallinckrodt’s then current belief,

16   based in part on the results of the pK/pD Study, that the IV formulation of OCR-002 would require

17   another Phase 2 clinical trial to establish the optimal dose before the program could advance to Phase 3

18   clinical trials.” Id. at 21. In other words, the rationale for Mallinckrodt’s lower offer, and the

19   downward revision between the June and August Projections, was Mallinckrodt’s own personal belief,
20   based upon the undisclosed, unsummarized “results” of a study that appears to be referred to solely in

21   the merger-related SEC filings, that Ocera’s future prospects were meaningfully worse than they had

22   been a mere two months earlier. Indeed, the term “pK/pD Study” only appears in the Recommendation

23   Statement, Offer Statement, and Supplemental Disclosures.10 Yet this study and its undisclosed

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25   9
       Form 10-Q, Ocera Therapeutics, Inc., May 9, 2017, https://www.sec.gov/Archives/edgar/data/
26   1274644/000127464417000040/ocera1q-201710q.htm
     10
       The term “pK/pD Study” also appears in a July 1, 2015 Second Amended and Restated License
27   Agreement, but based upon the date, it could not have been the same pK/pD Study referred to in the
28   Recommendation Statement. See https://www.sec.gov/Archives/edgar/data/1274644/0001274644
     16000107/exhibit10110k2015.htm
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                                            16         Lead Case No. 3:17-cv-06687- RS
31       CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                       OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 18 of 32



 1   “results” in August 2017 were purportedly unfavorable enough to warrant a significant reduction in

 2   Mallinckrodt’s offer and management’s projections.

 3          64.     Further, it is unclear what “results” could have been obtained by August 2017 from a

 4   study that was first commissioned in late February or early March of 2017. Indeed, the Company’s

 5   clinical trials referenced on the FDA’s clinicaltrials.gov website indicate the time from start date to

 6   completion date spanned several years.        Thus, there does not appear to have been a study

 7   commissioned, associated with clinical trials, from which results were obtained during this time.

 8          65.     The results of a study that purportedly warranted a drastic reduction in offer price for

 9   Ocera and a downward revision to management’s projections were clearly material to Ocera’s

10   stockholders; however both the results of the pK/pD Study and the pre-study projections (i.e., the June

11   Projections) were omitted from the Recommendation Statement. The omission of information

12   regarding the study results rendered the statement on page 21 of the Recommendation Statement and

13   in the Supplemental Disclosures regarding the pK/pD Study, which created the impression that the

14   study results warranted or supported the downward revision to the Company’s projections, misleading;

15   stockholders had no way to assess the veracity of that assertion, and based upon the above-referenced

16   publicly announced information regarding OCR-002 during that time period, a downward revision to

17   the June Projections was not actually warranted and such a revision was not actually consistent with

18   management’s best estimates and views regarding the Company’s future prospects.

19          66.     Furthermore, the Recommendation Statement depicts the downward revised
20   projections that MTS utilized for its fairness opinion as Ocera management’s “best currently available

21   estimates and judgments . . . of the future results of operations and financial performance of the

22   Company.” RS at 3011. That statement is misleading because, as discussed above, the projections

23   utilized by MTS for its fairness opinion were not in fact management’s best estimates of the

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       MTS’ Fairness Opinion letter reiterates the same thing, stating in pertinent part: “[W]ith respect to
     the Company Projections, the Company POS and the Projected Contingent Cash Consideration
26   Payment Dates, we have assumed, with your consent, and based upon discussions with the
     Company’s management, that they have been reasonably prepared in good faith, that the
27   Company Projections reflect the best currently available estimates and judgments of the
28   management of the Company of the future results of operations and financial performance of
     the Company . . . .” RS at A-1.
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                                         17         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 19 of 32



 1   Company’s future financial performance. As explained above, Ocera management’s best estimates of

 2   the Company’s future financial performance were set forth in the unadulterated original June

 3   Projections—the projections Ocera management prepared without input or bias from outside parties

 4   and/or Mallinckrodt, whose sole goal was to acquire Ocera as cheaply as possible. Based upon: (i) the

 5   above-cited quarterly reports, which indicate that Ocera management’s view regarding the market

 6   opportunity for OCR-002 significantly increased after May 2017; (ii) the fact that the June Projections

 7   had to have already accounted for the purported “safety concerns raised by the Phase 2b STOP-HE

 8   clinical data” because such data had been analyzed by the time the June Projections were approved

 9   and the Company had issued positive news regarding its analysis of STOP-HE and the safety of OCR-

10   002; and (iii) the fact that the purportedly negative “results” of the pK/pD Study were not referenced

11   in a single other non-Merger related SEC filing, it defies logic to believe that the downward revised

12   projections MTS utilized for its fairness opinion that were included on page 40 of the Recommendation

13   Statement were in fact management’s “best estimates” of Ocera’s future financial performance.

14   Rather, the statement that the disclosed projections were management’s best estimates and the

15   disclosed projections themselves were misleading, because the projections were not in fact

16   management’s best estimates of the Company’s future financial performance.

17          67.     On August 1, 2017, the Company’s second quarter 2017 financial results were

18   announced, which beat analysts’ earnings per share estimates.

19          68.     From August 28, 2017 through September 4, 2017, MTS requested that Mallinckrodt
20   and Party A submit their “best and final” offers by September 8, 2017.

21          69.     Mallinckrodt and Party A chose to submit their “best and final” offers on September 8

22   and September 9, respectively. Interestingly, this time it was Party A that presented the superior

23   proposal. Party A’s updated proposal contemplated an upfront cash payment of approximately

24   $43 million and potential contingent payments of up to $111 million. Conversely, Mallinckrodt’s

25   “best and final” offer contemplated a $40 million cash upfront payment with up to $15 million in

26   contingent consideration, payable upon certain developmental milestones. In light of Party A’s
27   superior offer, Ocera executed a two-week exclusivity letter with Party A to facilitate extensive due

28   diligence of Ocera’s business and to further negotiations pertaining to the merger agreement and

30
                                         18         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 20 of 32



 1   related documents.

 2          70.     On September 20, 2017, Ocera held its regularly scheduled third quarter Board

 3   meeting, in which management, MTS, and Goodwin were present. MTS reviewed the status of

 4   Ocera’s ongoing strategic process. According to the Recommendation Statement “MTS presented the

 5   latest letters of intent provided by Mallinckrodt on September 8, 2017 and Party A on September 9,

 6   2017 and, among other financial analyses, described the economics of those proposals and reviewed

 7   management projections, which previously had been approved by the Board and described in the

 8   section entitled ‘—Certain Prospective Financial Information about Ocera Provided to Mallinckrodt,

 9   the Company’s Financial Advisor and the Board.’” RS at 22.

10          71.     It is entirely unclear what projections were reviewed at this September 20, 2017

11   meeting. The projections referenced as having been reviewed on September 20, 2017, could not

12   possibly be the projections included in the Recommendation Statement, as the Certain Prospective

13   Financial Information about Ocera Provided to Mallinckrodt, the Company’s Financial Advisor and

14   the Board were “prepared by the Company’s management and provided to and approved by the Board

15   on November 1, 2017.” RS at 38.

16          72.     On October 2, 2017, a special meeting of the Strategic Committee was held, during

17   which the Special Committee discussed Party A’s decision to withdraw its acquisition offer. The

18   Company was unwilling to pursue a licensing or similar transaction with Party A, and the Special

19   Committee directed MTS to reach out to Mallinckrodt.
20          73.     Three days later, on October 6, 2017, Mallinckrodt submitted a revised letter of intent

21   to Ocera that contemplated $42 million upfront cash payment, or $1.52 per share, with up to

22   $75 million in contingent cash consideration, payable upon certain developmental and sales

23   milestones. Additionally, the proposal required that Ocera maintain a minimum cash balance of

24   $3 million at closing, and that Mallinckrodt be granted 45 days of exclusivity.

25          74.     According to the Recommendation Statement, “on October 6, 2017, Ocera made

26   available to Mallinckrodt, by inclusion in Ocera’s online data room, a subset of the financial
27   information contained in the management projections provided to the Board and described in the

28   section entitled ‘—Certain Prospective Financial Information about Ocera Provided to Mallinckrodt,

30
                                         19         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
               Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 21 of 32



 1   the Company’s Financial Advisor and the Board.’” RS at 24.

 2            75.    It is entirely unclear what projections were provided to Mallinckrodt on October 6,

 3   2017. The projections referenced as having been provided could not possibly be the projections

 4   included in the Recommendation Statement, as the Certain Prospective Financial Information about

 5   Ocera Provided to Mallinckrodt, the Company’s Financial Advisor and the Board were “prepared by

 6   the Company’s management and provided to and approved by the Board on November 1, 2017.” RS

 7   at 38.

 8            76.    From October 6, 2017 through October 24, 2017, Mallinckrodt continued extensive

 9   due diligence on Ocera, and on October 24, 2017, Mallinckrodt indicated its desire to structure the

10   acquisition as a tender offer followed by a second-step merger.

11            77.    From October 24, 2017 through October 31, 2017, Ocera and Mallinckrodt, and their

12   respective representatives, negotiated the definitive terms for the Tender Offer and the merger,

13   including the Merger Agreement, CVR Agreement, and Tender and Support Agreement, and on

14   November 1, 2017, the parties reached an agreement regarding the terms of the Merger Agreement.

15            78.    On November 1, 2017, after the markets closed, the Board held a meeting. The

16   Recommendation Statement states that at that meeting:

17            Members of management and representatives of MTS and Goodwin were present.
              Representatives of Goodwin reviewed the fiduciary duties of the Board in
18            considering a potential sale of the company, led a discussion on the terms of the
              proposed merger agreement and advised the Board regarding a projected closing
19            timetable should the Board approve the transaction with Mallinckrodt. At the
              meeting, representatives of MTS presented to the Board MTS’s financial analyses
20            and rendered the oral opinion of MTS, subsequently confirmed by delivery of a
              written opinion of MTS dated November 1, 2017, to the Board to the effect that as of
21            November 1, 2017, and subject to the assumptions made, procedures followed,
              matters considered and qualifications and limitations set forth in such written opinion,
22            the Offer Price to be received by holders of Ocera stock (other than Parent, Purchaser
              and their respective affiliates, and holders of Excluded Shares) pursuant to the
23            Transactions was fair, from a financial point of view, to such holders. Representatives
              of MTS informed the Board that MTS had no conflicts with respect to Mallinckrodt
24            as, among other reasons, it had not performed any services or received compensation
              from Mallinckrodt or its affiliates in the last two years. After further discussing the
25            advantages and risks of the proposed transaction that are described in the section
              entitled “—Reasons for the Recommendations of the Board,” and based on the
26            discussions and deliberations at the November 1, 2017 and prior Board meetings, the
              Board unanimously: (i) determined that it is in the best interests of Ocera and the
27            stockholders of Ocera, to enter into the Merger Agreement, the Offer and the Merger,
              (ii) approved and declared advisable the Merger Agreement, the Offer, the Merger
28            and the other transactions contemplated thereby in accordance with the DGCL,
              (iii) resolved to recommend that the stockholders of Ocera accept the Offer and
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                                         20         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 22 of 32



 1          tender their Shares to Mallinckrodt pursuant to the Offer and (iv) resolved that the
            Merger be effected under Section 251(h) of the DGCL.
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     RS at 24-25.
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 4          79.     The Recommendation Statement later provides “Certain Prospective Financial

 5   Information about Ocera Provided to Mallinckrodt, the Company’s Financial Advisor and the Board.”

 6   RS at 38-40. In this section, the Recommendation Statement states that the projections provided to

 7   stockholders in the Recommendation Statement were “prepared by the Company’s management and

 8   provided to and approved by the Board on November 1, 2017 (the same day on which the Board
 9   approved the Merger Agreement), and as provided to MTS for its use and reliance in connection with

10   its financial analyses and opinion to the Board . . . .” RS at 38 (the “November Projections”).

11          80.     The “Background of the Transaction” section of the Recommendation Statement

12   discussing the November 1, 2017 meeting makes no mention of the Board approving a set of

13   projections on the same day it signed the Merger Agreement. RS at 24-25. Yet MTS’s fairness opinion

14   was based on the November Projections, provided to and approved by the Board on November 1,

15   2017. RS at 38. It does not appear that these projections were provided to bidders in connection with

16   the Transaction.

17          81.     The details regarding how the August Projections were revised to create the November

18   Projections are glaringly absent from the Recommendation Statement and any supplemental

19   disclosures. The only inference that can possibly be drawn from the fact that management and the
20   Board approved another set of projections on the same day that they agreed to the Transaction is that
21   the August Projections were revised further downward in order to make the Merger Consideration

22   appear fair. Management and the Board clearly put their thumb on the scale in making last minute

23   revisions to the Company’s projections that MTS used as the basis for its fairness opinion.

24   Furthermore, even if the November Projections (i.e., the projections included in the Recommendation

25   Statement on page 40) were substantially similar to the August Projections, those projections and the

26   statement that they were Ocera management’s best estimates and judgments regarding the Company’s
27   future financial performance was misleading, because the June Projections actually represented

28   management’s best estimates before the projections were revised significantly downward for

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                                         21         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 23 of 32



 1   purported reasons that are inconsistent with other information disseminated by the Company regarding

 2   the results of and data from the STOP-HE trial and the expected future market opportunity for OCR-

 3   002.

 4   B.     The Materially Misleading Recommendation Statement Prevented Stockholders from
            Making an Informed Decision and Misled Them Regarding the Fairness of the
 5          Transaction
 6          82.     As noted previously, on November 9, 2017, the Company filed the Recommendation

 7   Statement with the SEC in support of the Tender Offer commenced by Mallinckrodt. As alleged

 8   herein, the Recommendation Statement contained material misrepresentations and omissions of fact

 9   that forced Ocera’s stockholders to decide whether to tender their shares without adequate information

10   and misled them about the fairness of the Merger Consideration.

11          83.     As discussed herein, the Recommendation Statement omitted the June Projections and

12   the August Projections, both of which were approved by Ocera’s management and the Board and were

13   provided to Mallinckrodt and other bidders.       The Recommendation Statement is also entirely

14   misleading regarding what projections were utilized by the Board and Mallinckrodt at various times

15   during the process.

16          84.     The Recommendation Statement also failed to provide any information regarding the

17   “results of the pK/pD Study” which purportedly supported a significant reduction in Mallinckrodt’s

18   offer and the Company’s June Projections. Details regarding such results were material to the

19   Company’s stockholders, so they could have at the very least assessed the legitimacy for the downward
20   revisions. The vague reference to these “results” on page 21 of the Recommendation Statement were

21   rendered misleading by the omission of any details regarding such results, as the statement created the

22   false and misleading impression that the “results” warranted a reduction in the Company’s projections.

23   In reality, based upon the above-referenced information disseminated by the Company regarding the

24   results of and data from the STOP-HE trial and the expected future market opportunity for OCR-002,

25   the reduction to the June Projections was driven by pressure and influence from other potential

26   transaction partners rather than management’s own beliefs regarding the Company’s future prospects.
27          85.     First, the Recommendation Statement omitted management’s original, unadulterated

28   June Projections. These projections were approved by the Board on June 20, 2017, at the second

30
                                         22         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 24 of 32



 1   quarter Board meeting. The Board approved these June Projections as “management’s projections of

 2   Ocera as a standalone company.” RS at 18.

 3          86.     Second, the Recommendation Statement omitted the August Projections.              On

 4   August 27, 2017, at a special meeting of the Board, “[i]n light of feedback from potential partners,

 5   management revised and the Board approved revised financial projections of Ocera as a standalone

 6   company prepared by management.” RS at 21. The Supplemental Disclosures made after the filing

 7   of the Recommendation Statement revealed that this “feedback” related to:

 8          [T]he possibility, based in part on the results of the pK/pD Study, that the IV
            formulation of OCR-002 might require another Phase 2 clinical trial to establish the
 9          optimal dose before the program could advance to Phase 3 clinical trials, uncertainty
            about the potential Phase 3 clinical trial design for the IV formulation of OCR-002,
10          lack of regulatory clarity, mixed views on the market opportunity and potential safety
            concerns raised by the Phase 2b STOP-HE clinical data
11

12          87.     Not only were the August Projections omitted entirely from the Recommendation

13   Statement, but the Recommendation Statement also misled stockholders regarding the rationale for

14   revising the previous projections (the June Projections) downward in August 2017. There is no

15   indication that management or the Board thought these downward revisions were necessary; to the

16   contrary, other information disseminated by the Company, including information regarding the market

17   opportunity for OCR-002, only improved between May and November of 2017, by hundreds of millions

18   of dollars. See supra ¶¶ 60-62. While the Board ultimately approved the August Projections, it

19   appears that external pressure from interested bidders caused the downward revision, not input from
20   management or the Board. Given that neither the June Projections nor the August Projections were

21   disclosed, stockholders had no way to independently assess the reasonableness of these revisions (or,

22   as alleged herein, the lack thereof).

23          88.     Third, the Recommendation Statement misled stockholders regarding the actual

24   projections used by MTS in the financial analyses underpinning its fairness opinion. The “Background

25   of the Transactions” section of the Recommendation Statement only discloses the creation of two sets
26   of projections by management which were approved by the Board—the June Projections and the
27   August Projections. Yet, in the section of the Recommendation Statement titled, “Certain Prospective

28   Financial Information about Ocera Provided to Mallinckrodt, the Company’s Financial Advisor and

30
                                         23         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 25 of 32



 1   the Board,” the Recommendation Statement discloses that “[t]he tables below present selected

 2   elements of the Projections, as prepared by the Company’s management and provided to and approved

 3   by the Board on November 1, 2017 and as provided to MTS for its use and reliance in connection with

 4   its financial analyses and opinion to the Board as described below under the heading ‘—Opinion of

 5   the Company’s Financial Advisor.’” RS at 38. This is the first and only time in the Recommendation
 6   Statement that the November 1, 2017 projections are mentioned. Yet these projections, approved by

 7   the Board on the same day the Board signed the Merger Agreement, served as the basis for MTS’s

 8   financial analyses underpinning its fairness opinion.

 9          89.     The Recommendation Statement overtly misled stockholders by discussing two

10   previous iterations of Company projections that were approved by the Board, provided to bidders, and

11   provided to MTS—the June Projections and the August Projections, but omitting disclosure of a

12   second downward revision to the projections resulting in the November Projections—the projections

13   ultimately used by MTS. It appears that Ocera revised its projections down one final time, and the

14   Board approved such revised projections, to make the Merger Consideration offered in the Transaction

15   appear more attractive to Ocera stockholders. Without disclosure of the June Projections and the

16   August Projections, Ocera stockholders were misled regarding the true value of their stock.

17          90.     Furthermore, even if the November Projections (i.e., the projections included in the

18   Recommendation Statement on page 40) were substantially similar to the August Projections, those

19   projections and the statement that they were Ocera management’s best estimates and judgments
20   regarding the Company’s future financial performance was misleading, because the June Projections

21   actually represented management’s best estimates before those projections were revised significantly

22   downward for purported reasons that are inconsistent with other information disseminated by the

23   Company regarding the results of and data from the STOP-HE trial and the expected future market

24   opportunity for OCR-002, which increased significantly between May and November 2017.

25          91.     The Recommendation Statement further misled stockholders regarding what

26   projections were utilized for the financial analyses presented to the Board:
27                  (a).    On September 20, 2017, Ocera held its regularly scheduled third quarter Board

28                          meeting, in which management, MTS and Goodwin were present.             MTS

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                                         24         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
             Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 26 of 32



 1                        reviewed the status of Ocera’s ongoing strategic process. According to the

 2                        Recommendation Statement “MTS presented the latest letters of intent

 3                        provided by Mallinckrodt on September 8, 2017 and Party A on September 9,

 4                        2017 and, among other financial analyses, described the economics of those

 5                        proposals and reviewed management projections, which previously had
 6                        been approved by the Board and described in the section entitled ‘—
 7                        Certain Prospective Financial Information about Ocera Provided to

 8                        Mallinckrodt, the Company’s Financial Advisor and the Board.’” (emphasis
 9                        added).

10                 (b).   These “management projections” that were reviewed by the Board and utilized

11                        by MTS at this meeting were not, in fact, projections that “previously had been

12                        approved by the Board and described in the section entitled ‘—Certain

13                        Prospective Financial Information about Ocera Provided to Mallinckrodt, the

14                        Company’s Financial Advisor and the Board.’” As described in detail above,

15                        the “Certain Prospective Financial Information about Ocera Provided to

16                        Mallinckrodt, the Company’s Financial Advisor and the Board” were

17                        projections approved by the Board on November 1, 2017. RS at 38. There is

18                        no indication that the November Projections were available on September 20,

19                        2017. Additionally, the Recommendation Statement is clear that the projections
20                        disclosed in “Certain Prospective Financial Information about Ocera Provided

21                        to Mallinckrodt, the Company’s Financial Advisor and the Board” were not
22                        approved by the Board until November 1, 2017.
23          92.    The Recommendation Statement further misled stockholders regarding what

24   projections were provided to Mallinckrodt:

25                 (a).   According to the Recommendation Statement, “on October 6, 2017, Ocera

26                        made available to Mallinckrodt, by inclusion in Ocera’s online data room, a
27                        subset of the financial information contained in the management projections

28                        provided to the Board and described in the section entitled ‘—Certain

30
                                         25         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 27 of 32



 1                          Prospective Financial Information about Ocera Provided to Mallinckrodt, the

 2                          Company’s Financial Advisor and the Board.’”

 3                   (b).   These “management projections” that were provided to Mallinckrodt at this

 4                          time were not, in fact, projections that “previously had been approved by the

 5                          Board and described in the section entitled ‘—Certain Prospective Financial

 6                          Information about Ocera Provided to Mallinckrodt, the Company’s Financial

 7                          Advisor and the Board.’”       As described in detail above, the “Certain

 8                          Prospective Financial Information about Ocera Provided to Mallinckrodt, the

 9                          Company’s Financial Advisor and the Board” were projections approved by

10                          the Board on November 1, 2017. There is no indication that the November

11                          Projections were available on October 6, 2017.             Additionally, the

12                          Recommendation Statement is clear that the projections disclosed in “Certain

13                          Prospective Financial Information about Ocera Provided to Mallinckrodt, the

14                          Company’s Financial Advisor and the Board” were not approved by the
15                          Board until November 1, 2017.
16          93.      There is no information more material to stockholders in a merger than financial

17   information and projections necessary to assess the purported “fair value” of their shares. Ocera

18   stockholders were entitled to the Board approved previous two iterations of the Company’s

19   projections—the June Projections and the August Projections—to make an informed decision
20   regarding the adequacy of the consideration offered in the Tender Offer. Without this material

21   information, Ocera stockholders were precluded from making an informed decision regarding the

22   Tender Offer.

23          94.      The omission of the June Projections, the August Projections, and the “results of the

24   pK/pD Study” rendered the above-referenced statements misleading, including: (i) the unnecessarily

25   and unreasonably downward revised projections included on page 40 of the Recommendation

26   Statement; (ii) the statement that such projections represented Ocera management’s best estimates and
27   judgments regarding the Company’s future financial performance, RS at 30, and; (iii) the statement

28   on page 21 of the Recommendation Statement that was expanded by the Supplemental Disclosures

30
                                         26         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 28 of 32



 1   that “feedback from potential partners” regarding “the possibility, based in part on the results of the

 2   pK/pD Study, that the IV formulation of OCR-002 might require another Phase 2 clinical trial to

 3   establish the optimal dose before the program could advance to Phase 3 clinical trials, uncertainty

 4   about the potential Phase 3 clinical trial design for the IV formulation of OCR-002, lack of regulatory

 5   clarity, mixed views on the market opportunity and potential safety concerns raised by the Phase 2b

 6   STOP-HE clinical data” supported a downward revision to the June Projections.

 7          95.     As a result of the above-referenced misleading statements and omissions in the

 8   Recommendation Statement, Defendants violated Section 14(e) and 20(a) of the Exchange Act.

 9                                          CLAIMS FOR RELIEF
10                                                  COUNT I
11                                    Claims Against All Defendants for
12                             Violations of Section 14(e) of the Exchange Act
13          96.     Plaintiffs repeat and reallege the preceding allegations as if fully set forth herein.

14          97.     Defendants caused the Recommendation Statement to be issued with the intention of

15   soliciting stockholder support of the Transaction.

16          98.     Section 14(e) of the Exchange Act provides that it is unlawful “for any person to make

17   any untrue statement of a material fact or omit to state any material fact necessary in order to make

18   the statements made, in the light of the circumstances under which they are made, not misleading . . .

19   in connection with any tender offer or request or invitation for tenders, or any solicitation of security
20   holders in opposition to or in favor of any such offer, request, or invitation.” 15 U.S.C. § 78n(e).

21          99.     Defendants violated this clause of Section 14(e) because they negligently caused or

22   allowed the Recommendation Statement to be disseminated to Ocera stockholders in order to solicit

23   them to tender their shares in the Tender Offer, and the Recommendation Statement contained untrue

24   statements of material fact and/or omitted to state material facts necessary in order to make the

25   statements made, in the light of the circumstances under which they were made, not misleading.

26          100.    Defendants negligently omitted the material information identified above from the
27   Recommendation Statement or negligently failed to notice that such material information had been

28   omitted from the Recommendation Statement, which caused certain statements therein to be materially

30
                                         27         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
                  Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 29 of 32



 1   incomplete and therefore misleading. Indeed, while Defendants undoubtedly had access to and/or

 2   reviewed the omitted material information in connection with approving the Transaction, they allowed

 3   it to be omitted from the Recommendation Statement, rendering certain portions of the

 4   Recommendation Statement materially incomplete and therefore misleading. As directors and officers

 5   of Ocera, the Individual Defendants had a duty to carefully review the Recommendation Statement

 6   before it was disseminated to the Company’s stockholders to ensure that it did not contain untrue

 7   statements of material fact and did not omit material facts. The Individual Defendants were negligent

 8   in carrying out their duty.

 9               101.   Ocera is imputed with the negligence of the Individual Defendants, who were each

10   directors and/or senior officers of Ocera.

11               102.   As a direct result of Defendants’ negligent preparation, review, and dissemination of

12   the false and/or misleading Recommendation Statement, Plaintiffs and the Class were impeded from

13   exercising their right to seek appraisal on a fully informed basis and were induced to tender their shares

14   and accept the inadequate Merger Consideration in connection with the Transaction. The false and/or

15   misleading Recommendation Statement used to solicit the tendering of shares impeded Plaintiffs and

16   the Class from making a fully informed decision regarding the Tender Offer and was an essential link

17   in consummating the Transaction, which deprived them of full and fair value for their Ocera shares.

18   At all times relevant to the dissemination of the materially false and/or misleading Recommendation

19   Statement, Defendants were aware of and/or had access to the true facts concerning the process
20   involved in selling Ocera, the projections for Ocera, and Ocera’s true value, which was greater than

21   the Merger Consideration Ocera’s stockholders received. Thus, as a direct and proximate result of the

22   dissemination of the false and/or misleading Recommendation Statement Defendants used to obtain

23   stockholder approval of and thereby consummate the Transaction, Plaintiffs and the Class have

24   suffered damage and actual economic losses (i.e., the difference between the price Ocera stockholders

25   received and the true value of their shares at the time of the Transaction) in an amount to be determined

26   at trial.
27               103.   The misrepresentations and omissions in the Recommendation Statement are material

28   in that a reasonable stockholder would have considered them important in deciding whether to tender

30
                                         28         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
              Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 30 of 32



 1   their shares in the Tender Offer. In addition, a reasonable investor would view a full and accurate

 2   disclosure as having significantly altered the “total mix” of information made available in the

 3   Recommendation Statement and in other information reasonably available to stockholders.

 4                                                  COUNT II
 5                                   Against the Individual Defendants for
 6                              Violations of Section 20(a) of the Exchange Act
 7          104.     Plaintiffs repeat and reallege the preceding allegations as if fully set forth herein.

 8          105.     The Individual Defendants acted as controlling persons of Ocera within the meaning of

 9   Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as officers and/or

10   directors of Ocera and participation in and/or awareness of the Company’s operations and/or intimate

11   knowledge of the false and misleading statements contained in the Recommendation Statement, they

12   had the power to influence and control and did influence and control, directly or indirectly, the decision

13   making of the Company, including the content and dissemination of the various statements that

14   Plaintiffs contend are false and misleading.

15          106.     Each of the Individual Defendants was provided with or had unlimited access to copies

16   of the Recommendation Statement alleged by Plaintiffs to be misleading prior to and/or shortly after

17   these statements were issued and had the ability to prevent the issuance of the statements or cause

18   them to be corrected.

19          107.     In particular, each of the Individual Defendants had direct and supervisory involvement
20   in the day-to-day operations of the Company, and, therefore, is presumed to have had the power to

21   control and influence the particular transactions giving rise to the violations as alleged herein, and

22   exercised the same. The Recommendation Statement contains the unanimous recommendation of the

23   Individual Defendants to approve the Transaction. They were thus directly involved in the making of

24   the Recommendation Statement.

25          108.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

26   Exchange Act.
27          109.     As set forth above, the Individual Defendants had the ability to exercise control over

28   and did control a person or persons who have each violated Section 14(e) of the Exchange Act, by

30
                                         29         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
                Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 31 of 32



 1   their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

 2   defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result

 3   of the Individual Defendants’ conduct, Plaintiffs and the Class have suffered damage and actual

 4   economic losses (i.e., the difference between the price Ocera stockholders received and the true value

 5   of their shares at the time of the Transaction) in an amount to be determined at trial.

 6                                          PRAYER FOR RELIEF
 7          WHEREFORE, Plaintiffs demand judgment against Defendants jointly and severally, as
 8   follows:

 9          (A)     Declaring this action to be a proper class action pursuant to Rule 23 of the Federal

10   Rules of Civil Procedure and certifying Plaintiffs as Class Representatives and their counsel as Class

11   Counsel;

12          (B)     Declaring that the Recommendation Statement was materially false or misleading;

13          (C)     Awarding Plaintiffs and the members of the Class compensatory and/or rescissory

14   damages against Defendants;

15          (D)     Awarding Plaintiffs and the members of the Class pre-judgment and post-judgment

16   interest, as well as reasonable attorneys’ fees, expert witness fees, and other costs;

17          (E)     Awarding extraordinary, equitable, and/or injunctive relief as permitted by law, equity

18   and the federal statutory provisions sued hereunder, and any appropriate state law remedies; and

19          (F)     Awarding such other relief as this Court may deem just and proper.
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                                         30         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
             Case 3:17-cv-06687-RS Document 25 Filed 04/26/18 Page 32 of 32



 1                                               JURY DEMAND
 2          Plaintiffs demand a trial by jury.

 3   Dated: April 26, 2018                            LEVI & KORSINSKY, LLP
 4                                                    By: /s/ Rosemary M. Rivas
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13   Counsel for Plaintiff William Paulus
     and Co-Lead Counsel for the Putative Class
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                                         31         Lead Case No. 3:17-cv-06687- RS
31    CONSOLIDATED COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT
                                    OF 1934
